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                                            *   THE



    REVISED STATUTES
                                                OF THE




                STATE OF MISSOURI.

                                         1879 .
   TO WHICH   ARE PREFIXED    THE  DECLARATION OF INDEPENDENCE , WASHINGTON ' S
      FAREWELL   ADDRESS , ARTICLES OF CONFEDERATION , CONSTITUTION   OF  THE
        UNITED STATES , ACT OF CONGRESS FOR THE FORMATION OF A STATE
          GOVERNMENT , ORDINANCE OF THE CONVENTION ASSENTING    THERETO ,
             AND CONSTITUTION  OF MISSOURI : WITH AN APPENDIX CONTAIN
                ING CERTAIN ACTS OF CONGRESS , AND PRACTICAL FORMS ,
                         REQUIRED TO BE PUBLISHED THEREIN .




    REVISED     AND PROMULGATED                 BY THE XXXTH GENERAL ASSEMBLY .




                                  VOLUME ONE .


      COLLATED AND ANNOTATED      BY JOHN A . HOCKADAY , THOMAS    A . PARRISH                  ,
             BENJAMIN F , MCDANIEL AND DANIEL H . MCINTYRE , COMMITTEE
                            APPOINTED FOR THAT PURPOSE .




    PUBLISHED                        , ARTICLE V, OF TIE
            BY AUTHORITY OF CHAPTER 46                     REVISED STATUTESOF THE STATE OF MISSOURI,




                                  CITY OF JEFFERSON :
                       CARTER & REGAN , STATE PRINTERS AND BINDERS .
                                                 1879 .

                                                                                        23
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   ART. 1. ]                          CRIMES     AND CRIMINAL PROCEDURE .                                          217




                                               CHAPTER                       24 .

                                   OF CRIMES       AND CRIMINAL PROCEDURE .

         ARTICLE I - Offenses against the government and the supremacy of the law .
                II - Offenses against the lives and persons of individuals .
                    III - Offenses against public and private property .
                    IV - Orenses affecting records , currency , instruments or securities .
                      V - Offensesaffecting the administration of justice .
                 VI- Orenses by persons in office or affecting public trusts and rights .
               VII - Offenses against public order and public peace.
               VIII - Offenses against public morals and decency or the public police , and miscellaneous offenses.
                    IX - Miscellaneons provisions and matters of practice .
                      X - Local jurisdiction of public offenses.
                    XI - Limitations of criminal actions and prosecutions .
                   XII - Surety to keep the peace.
               XIII - Arrest and preliminary examination .
               XIV - Jurisdiction     and mode of procedure .
                XV - of grand juries and their proceedings .
               XVI - Indictments and process thereon.
             XVII —Proceedings before trial.
             XVIII – Trials and incidental proceedings .
                   XIX - Verdict and judgment and proceedings thereon.
                    XX - New trial and arrest of judgment .
               XXI - Appeals and writs of error .
              XXII – Miscellaneous proceedings .
             XXIII – Procedure before justices in misdemeanors .
             XXIV - Relief of insolvents confined on criminal process.
              XXV - Costs in criminal cases.

                                                     ARTICLE            I.
         OFFENSES           AGAINST   THE    GOVERNMENT           AND      THE SUPREMACY       OF   THE LAW .

   SECTION                                                      SECTION
   1227. Treason , punishment of.                                  . Combinations to overturn state government .
                                                              | 1230
   1228. Misprision of treason, how punished .                     . Levying war against people of state.
                                                                1231
    :29. Giving aid to enemies of state - punishment .
   12                                                         I


         Sec . 1227 .   Treason , punishment of . - Every person who shall commit
   treason     against the state , by levying war against the same , or by adhering
   to the enemies thereof , by giving them        aid and comfort , shall , upon con
   viction , suffer death , or be sentenced to imprisonment in the penitentiary
   for a period of not less than ten years . ( G . S . 776 , § 1 .)
         Sec . 1228 . Misprision of treason , how punished . - Every person who
    shall have knowledge that any other person has committed , or is about to
   commit , treason against this state , and who shall conceal the same , shall be
   deemed       guilty of misprision of treason , and , on conviction , shall be pun
    ished by imprisonment in the penitentiary for a period not exceeding seven
    years , or by imprisonment in the county jail not less than four months , and
    by fine not less than one thousand dollars .       ( G . S . 776 , $ 2 . )
          Sec . 1229 . Giving aid to enemies of state - punishment . - Any person
    who , while this state shall be engaged in war , in cases authorized           by the
     constitution of the United States , shall attempt or endeavor to join , or
                    or or




                                                                                    or
             aid




                                                              to of




    give           comfort      the enemies     the state           shall counsel advise
                                      to
                                      ,




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                                                                                                        to ,



                                                                                                                    , ,
                                                                                          or




     persuade       induce any other person       join    give aid         comfort  them
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                       elsewhere shall upon conviction             punished by imprison
                            or




                                                                                    be




        this state
    in




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    ment         the penitentiary for    period not exceeding ten years            by fine
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    not less than one thousand nor exceeding five thousand dollars
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         224                                     CRIMES        AND       CRIMINAL PROCEDURE .                                                   [ CHAP . 24.

             Sec . 1271 . Abandonment of children . - If any father or mother of any
        child under the age of six years , or any other person to whom such child
        shall have been confided , shall expose such child in a street , field or other
        place , with ſintent wholly to abandon it , he or she shall , upon conviction ,
        be punished by imprisonment in the penitentiary not exceeding five years ,
        or in the county jail not less than six months. (G . S . 781 , $ 39 . )
             Sec . 1272 . Mistreatment of apprentices . - If any master or mistress
        of an apprentice or other person having the legal care and control of any
         infant , shall , without lawful excuse , refuse or neglect to provide for such
        apprentice or infant , necessary food , clothing or lodging , or shall unlaw
        fully and purposely assault such apprentice or infant , whereby his life shall
        be endangered , or his health shall have been or shall be likely to be per
        manently injured , the person so offending shall, upon conviction , be pun
        ished by imprisonment in the penitentiary not exceeding three years , or by
        imprisonment in the county jail not exceeding one year , or by a fine of not
        more than one thousand dollars , or by both such fine and imprisonment .
        (New    section . )
              Sec . 1273 .    Abandonment of wife or child . -              any man shall , with                  If
        out good       cause , abandon or desert his wife , or abandon his child or children
        under the age of twelve years born in lawful wedlock , and shall fail ,
        neglect or refuse to maintain and provide for such wife , child or children ,
        he shall , upon conviction , be punished by imprisonment in the county jail
        not more than one year , or by a fine of not less than fifty , nor more than
        one thousand dollars , or by both such fine and imprisonment . No other
        evidence shall be required to prove that such husband was married to such
        wife , or is the father of such child or children , than would be necessary to
        prove such fact or facts in a civil action . ( Laws 1867, p . 112 , amended - m . )
              Sec . 1274 . Carrying deadly weapons ,                     any person shall carry
                                                                                                   etc


                                                                                                          If
                                                                                                         -
                                                                                                   .




        concealed upon           about his person any deadly               dangerous weapon
                                        or




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                                                                             ,




                                                                                                                                                               ,
                                                      or




                   into any church         place where people have assembled for religious
                 go




        shall
        worship         into any school room         place where people are assembled for
                        or




                                                                         or
                   ,




        educational literary
                                                                                   or




                                      social purposes            any election precinct            any



                                                                                                                                                          on
                                                 or




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                                                                                                                                                    ,
                             into any court room during the sitting
                            or




        election day                                                                                                                         or
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                                                                                 court      into any
                                                                                                                                           , ,
        other public assemblage            persons met for any lawful purpose other than
                                                      of




                                meetings called under the militia law
                                                                                                                                   of




        for militia drill                                                           this state hav
                                       or




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                                                                                                                                                               , .
                       , or




        ing upon        about his person any kind
                                                                                    of




                                                           firearms bowie knife dirk dagger
                                                                                                         ,




                                                                                                                                         of ,

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                                                                                                                           -
                                                                           or




        slung shot         other deadly weapon                      the presence
                             or




                                                                                                                                                      or

                                                         shall                          one    more
                                                                                                    in
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        persons exhibit any such weapon                   rude angry         threatening manner
                                                                                                                   or
                                                                             in
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                                                                                                                                                               ,
                                                                         a




        or shall have or carry any such weapon upon or about his person when in
                                                    intoxicating drinks          shall directly
                        or




                                                                                                                             or
                                                                     or of




        toxicated        under the influence
                                                                                                                                                                , or
                                                                                                                       ,




                                                                                                                                           ,




        indirectly sell
                                     or




                                deliver loan        barter       any   minor    any  such weapon
                                                                                              to
                       ,




                                                      ,




                                                                                                                           ,




                                      the parent
                                                                             or




                                                      guardian
                                                 of




                                                                                                         of




        without the consent                                            such minor he shall upon
                                                                                                                                    ,



                                                                                                                                                      ,




        conviction be punished by                    not less than five nor more than one
                                                                         of




                                             fine
                       ,




                                                           a




                                 by imprisonment          the county jail not exceeding three
                                  or




        hundred dollars
                                                                                   in
                                  ,




        months         by both such fine and imprisonment                  Laws 1874
                       or




                                                                                                                                                     43




                                                                                                laws
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        1875           and laws 1877         240 amended
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             Sec 1275         Above section not         apply        certain officers      The next
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        preceding section shall not apply            police officers nor        any officer
                                                                         to




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                                                                                                                or




        son whose duty               execute process         warrants           suppress breaches
                                                                                        or
                                                 to
                                     it
                                            is




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                                                      persons moving          traveling peaceably
                                                                                                              or




            the peace
        of




                             make arrests nor
                                  or




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        through this state and                                            the charge
                                                                                                                                                of




                                          shall    good defense                             carrying
                                                                                                             to
                                                      it
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        such weapon          the defendant shall show that he has been threatened with
                                if
                             ,




        great bodily harm
                                       , or




                                   had good reason           carry the same           the necessary
                                                                                        to




                                                                                                                                    in
                                         ,




                                                               or




                       his person home          property
                       of




        defense                                                New section
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                                                       discharged near court house
                                                                              be




             SEC              Fire arms not                                                    Here
                                                                     to




                     1276
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                             unlawful for any person           this state except he be
                                be




        after     shall                                                                       sheriff
                                                                                         in
               it




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                               the discharge       official duty         discharge or fire off any
                                                                     of
         or




           other officer
                                                                                                             to
                                   in




                                                                                                     ,




                                                                                                                             43
                                       be




                                             competent witness             prove fact
                                                                                             of




                                                                                                                                   Mo 429
                                  to




                                                                      to
              (m




                    Wife held                                                                     abandonment                                       The fact that
                                       a
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                                                                                        52
                                                               no




        the defendant has brought suit for divorce                    defense                Mo 172.
                                                               is




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